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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                   CASE:

  CARLOS BRITO,

              Plaintiff,
  v.

  SUNSHINE GASOLINE DISTRIBUTORS, INC.
  and LAGO EXPRESS, INC.,

          Defendant.
  ______________________________________/

                                               COMPLAINT

  Plaintiff, CARLOS BRITO, individually and on behalf of all other similarly situated mobility-

  impaired individuals (hereinafter “Plaintiff”), sues SUNSHINE GASOLINE DISTRIBUTORS,

  INC., and LAGO EXPRESS, INC. (hereinafter “Defendants”), and as grounds alleges:

                                JURISDICTION, PARTIES. AND VENUE

         1.          This is an action for injunctive relief, a declaration of rights, attorneys' fees,

  litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

  Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

         2.           The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

  § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

         3.           The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and

  2202, and may render declaratory judgment on the existence or nonexistence of any right under 42

  U.S.C. § 12181, et seq.

         4.           Plaintiff, CARLOS BRITO, is an individual over eighteen years of age, residing

  in Miami-Dade County, Florida, and is otherwise sui juris.

         5.           At all times material, Defendant, SUNSHINE GASOLINE DISTRIBUTORS,

  INC., owned and operated a place of public accommodation at 2445 W Flagler Street, Miami,
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  Florida, (hereinafter the “Commercial Property”) and conducted a substantial amount of business

  in that place of public accommodation in Miami-Dade, Florida.

          6.        At all times material, Defendant, SUNSHINE GASOLINE DISTRIBUTORS,

  INC., was and is a Florida Profit Corporation, with its principal address in Doral, Florida.

          7.        At all times material, Defendant, LAGO EXPRESS, INC., owned and operated a

  gas station and a place of public accommodation at 2445 W Flagler Street, Miami, Florida,

  (hereinafter the “Commercial Property”) and conducted a substantial amount of business in that

  place of public accommodation in Miami-Dade, Florida.

          8.        At all times material, Defendant, LAGO EXPRESS, INC., was and is a Florida

  Profit Corporation, with its principal address in Miami, Florida.

          9.        Venue is properly located in the Southern District of Florida because Defendants’

  Commercial Property is located in Miami-Dade County, Florida, Defendants regularly conduct

  business within Miami-Dade County, Florida, and because a substantial part(s) of the events or

  omissions giving rise to these claims occurred in Miami-Dade County, Florida.

                                     FACTUAL ALLEGATIONS

          10.       Although over twenty-seven (27) years have passed since the effective date of

  Title III of the ADA, Defendants have yet to make its facilities accessible to individuals with

  disabilities.

          11.       Congress provided commercial businesses one and a half years to implement the

  Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the

  extensive publicity the ADA has received since 1990, Defendants continue to discriminate against

  people who are disabled in ways that block them from access and use of Defendants’ businesses

  and properties.
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         12.       The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

  requires landlords and tenants to be liable for compliance

         13.         Plaintiff, CARLOS BRITO, is an individual with disabilities as defined by and

  pursuant to the ADA. Plaintiff, CARLOS BRITO, is, among other things, a paraplegic (paralyzed

  from his T-6 vertebrae down) and is therefore substantially limited in major life activities due to

  his impairment, including, but not limited to, not being able to walk or stand. Plaintiff requires the

  use of a wheelchair to ambulate.

         14.         Defendant, SUNSHINE GASOLINE DISTRIBUTORS, INC., owns, operates

  and oversees the Commercial Property, its general parking lot and parking spots. Defendant LAGO

  EXPRESS, INC. operates the gas station business located within the Commercial Property.

         15.        The subject Commercial Property is open to the public and is located in Miami,

  Miami-Dade County, Florida.

         16.       The individual Plaintiff visits the Commercial Property and businesses located

  within the Commercial Property, regularly, to include visits to the Commercial Property and

  businesses located within the Commercial Property on or about May 28, 2019 and May 8, 2020,

  and encountered multiple violations of the ADA that directly affected his ability to use and enjoy

  the Commercial Property and businesses located located therein. He often visits the Commercial

  Property and businesses located within the Commercial Property in order to avail himself of the

  goods and services offered there, and because it is approximately eighteen (18) miles from his

  residence, and is near his friends’ residences as well as other businesses and restaurants he

  frequents as a patron. He plans to return to the Commercial Property and the businesses located

  within the Commercial Property within two (2) months of the filing of this Complaint.

         17.       Plaintiff resides nearby in the same county and state as the Commercial Property
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  and the businesses located within the Commercial Property, has regularly frequented the

  Defendants’ Commercial Property and the businesses located within the Commercial Property for

  the intended purposes because of the proximity to his and his friends’ residences and other

  businesses that he frequents as a patron, and intends to return to the Commercial Property and

  businesses located within the Commercial Property within two (2) months from the filing of this

  Complaint.

         18.       The Plaintiff found the Commercial Property, and the businesses located within

  the Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

  barriers at the Commercial Property, and businesses located within the Commercial Property and

  wishes to continue his patronage and use of each of the premises.

         19.       The Plaintiff has encountered architectural barriers that are in violation of the

  ADA at the subject Commercial Property, and businesses located within the Commercial Property.

  The barriers to access at Defendants’ Commercial Property, and the businesses located within the

  Commercial Property have each denied or diminished Plaintiff’s ability to visit the Commercial

  Property, and businesses located within the Commercial Property, and have endangered his safety

  in violation of the ADA. The barriers to access, which are set forth below, have likewise posed a

  risk of injury(ies), embarrassment, and discomfort to Plaintiff, CARLOS BRITO, and others

  similarly situated.

         20.       Defendant, SUNSHINE GASOLINE DISTRIBUTORS, INC., owns and operates

  a place of public accommodation as defined by the ADA and the regulations implementing the

  ADA, 28 CFR 36.201 (a) and 36.104. LAGO EXPRESS, INC. owns and operates the has station

  business     within   the   Commercial    Property.    Defendants,    SUNSHINE       GASOLINE

  DISTRIBUTORS, INC. and LAGO EXPRESS, INC. are responsible for complying with the
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  obligations of the ADA. The place of public accommodation that Defendants, SUNSHINE

  GASOLINE DISTRIBUTORS, INC., and LAGO EXPRESS, INC. own and operate the

  Commercial Property Business located 2445 W Flagler Street, Miami, Florida.

         21.      Plaintiff, CARLOS BRITO, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendants’ non-compliance with the ADA with respect to the

  described Commercial Property and the businesses located within the Commercial Property,

  including but not necessarily limited to the allegations in Paragraph 26 of this Complaint.

  Plaintiff has reasonable grounds to believe that he will continue to be subjected to discrimination

  at the Commercial Property, and businesses located within the Commercial Property, in violation

  of the ADA. Plaintiff desires to visit the Commercial Property and businesses located therein, not

  only to avail himself of the goods and services available at the Commercial Property, and

  businesses located within the Commercial Property, but to assure himself that the Commercial

  Property and businesses located within the Commercial Property are in compliance with the ADA,

  so that he and others similarly situated will have full and equal enjoyment of the Commercial

  Property, and businesses located within the Commercial Property without fear of discrimination.


         22.      Defendant, SUNSHINE GASOLINE DISTRIBUTORS, INC., as landlord and

  owner of the Commercial Property Business, is responsible for all ADA violations listed in

  Paragraph 26 of this Complaint. Defendant LAGO EXPRESS, INC., as tenant and owner of the

  business is jointly and severally liable for all the violations listed in Paragraph 26 of this

  Complaint.

         23.      Plaintiff, CARLOS BRITO, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendants’ non-compliance with the ADA with respect to the

  described Commercial Property and businesses located within the Commercial Property, but not

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  necessarily limited to the allegations in Paragraph 26 of this Complaint. Plaintiff has reasonable

  grounds to believe that he will continue to be subjected to discrimination at the Commercial

  Property, and businesses within the Commercial Property, in violation of the ADA. Plaintiff

  desires to visit the Commercial Property and businesses within the Commercial Property, not only

  to avail himself of the goods and services available at the Commercial Property and businesses

  located within the Commercial Property, but to assure himself that the Commercial Property, and

  businesses located within the Commercial Property are in compliance with the ADA, so that he

  and others similarly situated will have full and equal enjoyment of the Commercial Property, and

  businesses located within the Commercial Property without fear of discrimination.

         24.       Defendants have discriminated against the individual Plaintiff by denying him

  access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

  and/or accommodations of the Commercial Property, and businesses located within the

  Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.

                                         ADA VIOLATIONS

         25.       The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1

  through 24 above as though fully set forth herein.

         26.       Defendants, SUNSHINE GASOLINE DISTRIBUTORS, INC., and LAGO

  EXPRESS, INC. have discriminated, and continues to discriminate, against Plaintiff in violation

  of the ADA by failing, inter alia, to have accessible facilities by January 26, 1992 (or January 26,

  1993, if a Defendants have 10 or fewer employees and gross receipts of $500,000 or less). A list

  of the violations that Plaintiff encountered during his visit to the Commercial Property, include but

  are not limited to, the following:

  Common Areas

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         A. Parking

 i.   The Plaintiff had difficulty exiting the vehicle, as designated accessible parking spaces are

      located on an excessive slope. Violation: There are accessible parking spaces located on an

      excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4 of the 2010 ADA

      Standards, whose resolution is readily achievable.

ii.   The Plaintiff had difficulty exiting the vehicle, as designated accessible parking space access

      aisles are located on an excessive slope. Violation: There are accessible parking space access

      aisles located on an excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4

      of the 2010 ADA Standards, whose resolution is readily achievable.

         B. Access to Goods and Services

 i.   There is seating provided at the facility that does not comply with the standards prescribed in

      Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA Standards, whose

      resolution is readily achievable.

         C. Public Restrooms

 i.   The Plaintiff could not flush the toilet without assistance, as the flush valve is not mounted on

      the wide area. Violation: The flush valve is not mounted on the compliant side in violation of

      Section 4.16.5 of the ADAAG and Section 604.6 of the 2010 ADA Standards, whose resolution

      is readily achievable.

ii.   The Plaintiff had difficulty using the toilet without assistance, as it is not mounted at the

      required distance from the side wall. Violation: The water closet is mounted at a non-compliant

      distance from the side wall, violating Section 4.16.2 and Figure 28 of the ADAAG and Section

      604.2 of the 2010 ADA Standards, whose resolution is readily achievable.



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iii.     The Plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

         wrapped. Violation: The lavatory pipes are not fully wrapped or maintained violating Section

         4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

         readily achievable.

iv.      The Plaintiff could not use the mirror, as it is mounted too high. Violation: The mirrors

         provided in the restrooms are in violation of the requirements in Section 4.19.6 of the ADAAG

         and Section 603.3 of the 2010 ADA Standards, whose resolution is readily achievable.

                                   RELIEF SOUGHT AND THE BASIS

             27.       The discriminatory violations described in Paragraph 26 are not an exclusive list

      of the Defendants’ ADA violations. Plaintiff requests an inspection of the Defendants’ places of

      public accommodation in order to photograph and measure all of the discriminatory acts violating

      the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff further

      requests to inspect any and all barriers to access that were concealed by virtue of the barriers'

      presence, which prevented Plaintiff, CARLOS BRITO, from further ingress, use, and equal

      enjoyment of the Commercial Business and businesses located within the Commercial Property;

      Plaintiff requests to be physically present at such inspection in conjunction with Rule 34 and timely

      notice. A complete list of the Subject Premises’ ADA violations, and the remedial measures

      necessary to remove same, will require an on-site inspection by Plaintiff’s representatives pursuant

      to Federal Rule of Civil Procedure 34.

             28.       The individual Plaintiff, and all other individuals similarly situated, have been

      denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

      privileges, benefits, programs and activities offered by Defendants, Defendants’ buildings,

      businesses and facilities; and has otherwise been discriminated against and damaged by the
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  Defendants because of the Defendants’ ADA violations as set forth above. The individual

  Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

  damage without the immediate relief provided by the ADA as requested herein. In order to remedy

  this discriminatory situation, the Plaintiff requires an inspection of the Defendants’ place of public

  accommodation in order to determine all of the areas of non-compliance with the Americans with

  Disabilities Act.

         29.          Defendants have discriminated against the individual Plaintiff by denying him

  access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations of its place of public accommodation or commercial facility, in violation of 42

  U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendants continue to

  discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

  modifications in policies, practices or procedures, when such modifications are necessary to afford

  all offered goods, services, facilities, privileges, advantages or accommodations to individuals with

  disabilities; and by failing to take such efforts that may be necessary to ensure that no individual

  with a disability is excluded, denied services, segregated or otherwise treated differently than other

  individuals because of the absence of auxiliary aids and services.

         30.          Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has

  a clear legal right to the relief sought. Further, injunctive relief will serve the public interest and

  all those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is

  entitled to recover attorneys’ fees, costs and litigation expenses from Defendants pursuant to 42

  U.S.C. § 12205 and 28 CFR 36.505.

         31.          A Defendant is required to remove the existing architectural barriers to the

  physically disabled when such removal is readily achievable for their place of public
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  accommodation, the Plaintiff and all others similarly situated, will continue to suffer such

  discrimination, injury and damage without the immediate relief provided by the ADA as requested

  herein. In order to remedy this discriminatory situation, the Plaintiff requires an inspection of the

  Defendants’ place of public accommodation in order to determine all of the areas of non-

  compliance with the Americans with Disabilities Act.

         32.        Notice to Defendants is not required as a result of the Defendants’ failure to cure

  the violations by January 26, 1992 (or January 26, 1993, if a Defendants have 10 or fewer

  employees and gross receipts of $500,000 or less). All other conditions precedent have been met

  by Plaintiff or waived by the Defendant.

         33.        Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

  Plaintiff Injunctive Relief, including an order to alter the property where Defendants operate the

  businesses, located at and/or within the commercial property located at 2445 W Flagler Street,

  Miami, Florida, the exterior areas, and the common exterior areas of the Commercial Property and

  businesses located within the Commercial Property, to make those facilities readily accessible and

  useable to the Plaintiff and all other mobility-impaired persons; or by closing the facility until such

  time as the Defendants cure the violations of the ADA.

         WHEREFORE, the Plaintiff, CARLOS BRITO, respectfully requests that this Honorable

  Court issue (i) a Declaratory Judgment determining Defendants at the commencement of the

  subject lawsuit were and are in violation of Title III of the Americans with Disabilities Act, 42

  U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendants including an order to make all

  readily achievable alterations to the facilities; or to make such facilities readily accessible to and

  usable by individuals with disabilities to the extent required by the ADA; and to require Defendants

  to make reasonable modifications in policies, practices or procedures, when such modifications
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  are necessary to afford all offered goods, services, facilities, privileges, advantages or

  accommodations to individuals with disabilities; and by failing to take such steps that may be

  necessary to ensure that no individual with a disability is excluded, denied services, segregated or

  otherwise treated differently than other individuals because of the absence of auxiliary aids and

  services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

  12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

  Title III of the Americans with Disabilities Act.


  Dated: June 19, 2020
                                                GARCIA-MENOCAL & PEREZ, P.L.

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